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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 MATTHEW G. SULLIVAN,

                 Petitioner,

 v.                                            Case No. 3:19-CV-01277-NJR

 DAN SPROUL, WARDEN, USP
 MARION,

                 Respondent.

                      JUDGMENT IN A CIVIL ACTION

DECISION BY THE COURT.

      IT IS ORDERED AND ADJUDGED that pursuant to the Order dated November

9, 2020 (Doc. 15), judgment is entered in favor of Respondent Dan Sproul. This action is

DISMISSED with prejudice.

      DATED: November 9, 2020

                                               MARGARET M. ROBERTIE,
                                               Clerk of Court

                                               By: s/ Deana Brinkley
                                                      Deputy Clerk


APPROVED: s/ Nancy J. Rosenstengel____
          NANCY J. ROSENSTENGEL
          Chief U.S. District Judge
